Case: 5:22-cv-01454-CEH Doc #: 32-7 Filed: 03/29/24 1 of 2. PagelD #: 239

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Case: 5:22-cv-01 H # F 4 P #
-01454- i
CEH Doc #: 32-7 Filed: 03/29/24 2 of 2. PagelD
: 240

TDA

Order #1506 confirmed -

1 message

FPGA Land

Thank you for your pu

Hi Carl, we're gelling your order
has been sont.

Order summary

RAM) & 19
G6

Customer Information

Shipping address

Cari Forsell

Norice Ple Lid

8 St Martin's Dr

#03-21 SI Marlin Residence
Singapore 258005
Singapore

shipping method
Worldwide

mail - Order isos contend

q

Kar Forsott <ffarco@ymail. cont

ORDER #1505

rchase!
ready to be shipped. We will notify you when tt

or Visit our store

BCU1525 - Blockchain Edition (With Mods & No

$63,650.00

Sublotal $63,650.00
Shipping $299.58

Total $63,949.58 USD

Billing address

Cari Forselt

Nonce Pte Ltd

§ S{ Marlin's Dr

#03-21 St Martin Residence
Singapore 268005
Singapore

Payment method
Bank deposlt -— $63,949.58

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